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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION



UNITED STATES OF AMERICA

v.                                                Case No. 3:10cr107/MCR

RENE ORTEGA CALDERON

                                   /


                         ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there have been no timely objections, and subject to this Court’s
consideration of the Plea Agreement pursuant to Fed. R. Crim. P. 11, the plea of guilty of
the Defendant, RENE ORTEGA CALDERON, to Counts I and II of the Indictment is hereby
ACCEPTED. All parties shall appear before this Court for sentencing as directed.
      DONE and ORDERED this 6th day of December 2010.




                                            s/   M. Casey Rodgers
                                           M. CASEY RODGERS
                                           UNITED STATES DISTRICT JUDGE
